                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

    UNITED STATES OF AMERICA,                       No. 4:17-CR-00403

         v.                                         (Judge Brann)

    RAYMOND KRAYNAK,

               Defendant.

                            MEMORANDUM OPINION

                                 NOVEMBER 9, 2020

I.      BACKGROUND

        In 2017, Raymond Kraynak—a doctor of osteopathy who was registered by

the Drug Enforcement Administration to prescribe Schedule II, III, IV, and V

controlled substances—was indicted on twelve counts of unlawfully distributing and

dispensing a controlled substance, in violation of 21 U.S.C. § 841(a)(1), five counts

of unlawfully distributing and dispensing a controlled substance resulting death, in

violation of 21 U.S.C. § 841(a)(1), and two counts of maintaining a drug-involved

premises, in violation of 21 U.S.C. § 856(a)(1).1

        In Count 13 of the indictment, Dr. Kraynak is charged with causing the death

of R.C. by prescribing Alprazolam, Hydrocodone, Carisoprodol; in Count 14 with

causing the death of D.H. by prescribing Oxycodone; in Count 15 with causing the

death of A.K. by prescribing Oxycodone and Alprazolam; in Count 16 with causing


1
     Doc. 3.
the death of M.L. by prescribing Temazepam, Alprazolam, and Hydrocodone; and

in Count 17 with causing the death of C.S. by prescribing Oxycodone, Carisoprodol,

Diazepam, and Zolpidem.2

       The Government intends to offer at trial the expert testimony of Stephen M.

Thomas, M.D., who has submitted a report that outlines his expert opinion in this

matter.3 In preparing his expert report, Dr. Thomas reviewed ten boxes of Dr.

Kraynak’s medical records, along with autopsy reports, toxicology reports, and

police reports. After reviewing those documents, Dr. Thomas offered an expert

opinion as to “whether Dr. Kraynak had prescribed controlled substances to the

patients reviewed for medically legitimate purposes in the usual course of his

professional practice” and whether those prescriptions were the but-for cause of

Decedents’ deaths.4

       Dr. Thomas concluded within a reasonable degree of medical certainty that

many of the prescriptions issued by Dr. Kraynak did not have a legitimate medical

purpose. Dr. Thomas first noted that his “evaluation of Dr. Kraynak’s ‘medical

records’ presented a unique set of difficulties” because “it [is] difficult to ascribe the

term ‘medical record’ to the piles of paper that Dr. Kraynak kept as alleged



2
    Id. at 19. R.C., D.H., A.K., M.L., and C.S. are collectively referred to in this Memorandum as
    the “Decedents.”
3
    See Doc. 60 at 1-13. When discussing Dr. Thomas’ opinion, the Court cites to Dr. Thomas’
    expert report. However, the Court also draws from Dr. Thomas’ testimony offered at the
    Daubert hearing conducted on August 5, 2020.
4
    Id. at 3.
                                                 2
documentation [of] his patients’ medical treatments.”5 Dr. Thomas noted that those

records rendered it “[im]possible to determine upon what basis any given medication

dose was being utilized, [or] whether . . . it was effective, beyond the patient

reporting ‘some’ analgesia.”6 Dr. Thomas asserted that “[t]hese concerns about the

medical records are not trivial,” stating:

        The documentation of history, physical examination, review of
        diagnostic information, the development of diagnosis, the formulation
        of a treatment plan, and assessment for the risk, benefits, effectiveness,
        and side effects of any given medical treatment is the core of legitimate
        medical practice. The documentation of the patient encounter is a key
        determinant whether the interaction occurred within the scope of the
        doctor-patient relationship. For example, if a physician were to meet a
        patient in a parking lot and hand them a prescription in exchange for
        money, absent a medical record, one would not doubt that the
        interaction had occurred outside of the scope of the doctor-patient
        relationship and not in the usual course of professional practice. The
        same applies when the location of the interaction is not a parking lot,
        but the physician’s office. The walls of the office do not assure that the
        interaction was within the scope of the doctor-patient relationship. It is
        the medical record that performs that function. It is through the medical
        record that we are able to literally see into the mind of the physician,
        understand his motivations, intentions, logic, and thought processes in
        providing any treatment to any patient at any time. . . .

        Given that modern medical therapies, especially controlled substances
        are fraught with risk, [it is] the medical record that allows us to evaluate
        whether or not the physician has adequately accounted for those risks
        in the scope of the doctor-patient relationship in the usual course of
        professional practice and in accordance with the accepted treatment
        principles of any responsible segment of the medical community.
        Absent the physician demonstrating through the medical record that the
        patient interactions occurred within the usual course of professional
        practice in the scope of the doctor-patient relationship and in
        accordance with the accepted treatment principles of any responsible
5
    Id. at 4.
6
    Id. at 5.
                                             3
         segment of the medical community, no such presumption can be made
         simply because one of the individuals has a license to practice medicine
         and the other does not. The medical record distinguishes the practice of
         medicine from drug dealing. Absent medical documentation, in my
         opinion, the dispensing of controlled substances in type and amounts
         requested by patients because patients report satisfaction with the drugs
         is no different than any other form of drug dealing. Physicians can,
         should, and must exert asymmetric power and understanding in the
         prescribing of these potent, potentially deadly, drugs.7

         In examining Decedents’ deaths, Dr. Thomas opined that, as to R.C., “[b]ut

for Dr. Kraynak’s prescribing Hydrocodone to [R.C.], she would not have died.”8

Specifically, Dr. Thomas observed that, from 2005 until 2015, while prescriptions

for Hydrocodone were being written for R.C., “there was no documentation of

medical treatment.”9 “On May 2, 2015, [R.C.] was given a prescription for 120

Hydrocodone/Acetaminophen 10/325 mg tablets. She was found dead at her home

on May 3, 2015. Her autopsy revealed that she had a therapeutic level of Alprazolam

at 37 nanograms per ml, but high levels of Hydrocodone with its metabolites

Hydromorphone and Dihydrocodeine in lower amounts. The cause of death was

‘acute mixed drug toxicity,’ primarily resulting from the Hydrocodone prescribed

by Dr. Kraynak on May 2, 2015.”10 Dr. Thomas opined within a reasonable degree

of medical certainty that Dr. Kraynak’s prescriptions to R.C. were “outside of the

usual course of professional practice and outside of the scope of the doctor-patient



7
     Id.
8
     Id. at 6.
9
     Id.
10
     Id.
                                            4
relationship,” and were “not in accordance with the accepted treatment principles

within the responsible segment of the medical community.”11 He further concluded

that “[b]ut for Dr. Kraynak’s prescribing Hydrocodone to [R.C.], she would not have

died.”12

         With respect to D.H., although her medical records indicated a history of

physical issues, “Dr. Kraynak failed to regularly apply any of the risk mitigation

tools mentioned in the controlled substance treatment agreements” that D.H. had

signed.13 Thus, although OxyContin had previously been discontinued for D.H. due

to safety concerns, Dr. Kraynak continued to prescribe that drug and also renewed

Oxycodone prescriptions.14 This behavior led Dr. Thomas to conclude that, not only

was “Dr. Kraynak’s undocumented prescribing occurring outside of the usual course

of professional practice,” but “the continued prescription of high-dose opioids to a

woman who had a history of acute respiratory failure secondary to opioids in the

setting of her morbid obesity, congenital scoliosis and breathing difficulties, chronic

renal insufficiency, and anemia was unfathomable.”15

         Moreover, Dr. Thomas noted that, at the time of her death, D.H. had “an

Oxycodone blood level of 796 nanograms per ml and an Oxymorphone blood level

of 17.6 nanograms per ml[, which is] an expected metabolite of Oxycodone. It was


11
     Id.
12
     Id.
13
     Id. at 8.
14
     Id.
15
     Id.
                                          5
nonetheless pharmacologically active and both of these drugs were found in

concentrations approximately four times the upper end of the expected therapeutic

range. These drugs were the mechanism of her death.”16 Dr. Thomas thus opined

that “[b]ut for Dr. Kraynak’s willful grossly negligent prescribing pattern, [D.H.]

would not have died.”17

         As to A.K., Dr. Thomas noted that infrequent patient notes indicated that A.K.

suffered from some knee and back pain for which Dr. Kraynak prescribed

Oxycodone and Alprazolam.18 In the autumn of 2013, A.K. entered a rehab program

and “experienced a period of abstinence from his medication.”19 After A.K.

completed rehab, Dr. Kraynak again prescribed him Oxycodone, despite the fact that

Dr. Kraynak should have known from A.K.’s prescription history that he underwent

a period of abstinence from his medications.20 Short after this prescription was

issued, A.K. was found dead; autopsy and toxicology reports reveal that Oxycodone

and Alprazolam were in A.K.’s system at levels far exceeding the therapeutic

range—levels that were sufficient to cause unconsciousness, depressed breathing,

and death.

         Dr. Thomas opined that, given A.K.’s period of abstinence, “[i]t was not

surprising that [A.K.] was found dead on October 29, 2013. The reinstitution of high-


16
     Id.
17
     Id.
18
     Id. at 8-9.
19
     Id. at 9.
20
     Id.
                                            6
dose opioid analgesia after a period of abstinence with the restoration of sensitivity

to the drug, is a frequent and known cause of accidental overdose and death.”21 He

further opined that “Dr. Kraynak’s failure to recognize that [A.K.] was at risk was

not consistent with the accepted treatment principles of any responsible segment of

the medi[c]al community” and his issuance of a prescription for A.K. “was

completely unjustified by the medical records available, being not in accordance

with the accepted treatment principles of any responsible segment of the medi[c]al

community.”22 Dr. Thomas concluded that “[b]ut for Dr. Kraynak’s inappropriate

prescribing of high-dose Oxycodone in an irresponsible and haphazard manner to

[A.K.], [A.K.] would not have died.”23

           With regard to M.L., although she suffered from degenerative changes to her

lumbar spine, “[s]uch degenerative changes are common and do not necessitate high-

dose opioid therapy.”24 M.L. signed a controlled substances agreement with Dr.

Kraynak but, less than 18 months later, a urine drug screen “was positive for

Morphine, Hydrocodone, Oxycodone, and Alprazolam”; since M.L. was not

prescribed Morphine or Oxycodone, this test was a clear indicator that M.L. was

abusing narcotics.25 M.L. was sent a “boot letter”—meaning that Dr. Kraynak would

discontinue treatment—but Dr. Kraynak nevertheless “continued to supply [M.L.]


21
     Id.
22
     Id.
23
     Id.
24
     Id.
25
     Id.
                                            7
with     controlled    substances,”     including    Temazepam,   Alprazolam,   and

Hydrocodone.26

        A toxicology report conducted after M.L.’s death revealed the presence of

Hydrocodone and benzodiazepines,27 both of which were “the proximate cause of

[M.L.’s] death.”28 This information led Dr. Thomas to opine that “[t]he continued

prescribing of liberal doses of opioids and benzodiazepines to a known drug abuser

was not in accordance with the accepted treatment principles within the responsible

segment of the medical community[, and that] [b]ut for Dr. Kraynak’s profligate,

irrational, and irresponsible prescribing behavior, [M.L.] would not have died.”29

        Finally, C.S. was prescribed Oxycodone and Carisoprodol for her lower back

pain and, although she executed a controlled substance agreement, Dr. Kraynak took

“little [action] in the way of enforcement of its directives” despite C.S.’

“documented overuse of opioids.”30 For example, “[o]n April 22, 2014, Dr. Kraynak

provided [C.S.] with prescriptions for 150 Oxycodone 30 mg tablets, 120

Carisoprodol 350 mg tablets, 30 Diazepam 10 mg tablets, and 30 Zolpidem

(Ambien) 10 mg tablets. Seven (7) days later on April 29, 2014, Dr. Kraynak




26
     Id.
27
     Temazepam and Alprazolam are types of benzodiazepines.
28
     Id.
29
     Id. at 10.
30
     Id. at 11.
                                             8
provided her precisely the same prescriptions in precisely the same amounts.”31 Dr.

Thomas summarized Dr. Kraynak’s prescription pattern for C.S. thusly:

        The callousness and malice of the controlled substance prescribing
        observed in this medical record was jarring. Dr. Kraynak had abundant
        evidence that [C.S.] was a drug abuser. He ignored it. Dr. Kraynak
        knew that [C.S.] was at risk for overdose, given the history of overdose
        that was supplied to him. He ignored it. But even if he knew nothing of
        the information that had been made available to him, there was no
        manner in which he could have believed that the prescription of 150
        Oxycodone 30 mg tablets, 120 Carisoprodol 350 mg tablets, 30
        Diazepam 10 mg tablets and 30 Zolpidem 10 mg tablets to the same
        patient [twice] within one week, could possibly have been for a
        medically legitimate purpose.32

        Shortly after Dr. Kraynak issued his final prescription for C.S., C.S. “was

found dead . . . from mixed substance toxicity. Her Oxycodone level was five times

the upper limit of therapeutic.”33 Dr. Thomas concluded that “[b]ut for Dr. Kraynak’s

haphazard, irregular, malicious prescribing, [C.S.] would not have died.”34

        In March 2020, Dr. Kraynak filed a motion to exclude Dr. Thomas’ expert

testimony.35 Dr. Kraynak argues that Dr. Thomas’ opinion is unreliable because it is

not based on (1) sufficient facts or data, (2) reliable principles and methods, or (3)

reliable application of principles and methods.36 Dr. Kraynak only contends that Dr.

Thomas’ opinion is unreliable as it relates to Decedents’ causes of death in Counts



31
     Id.
32
     Id.
33
     Id.
34
     Id.
35
     Doc. 57.
36
     Doc. 58.
                                           9
13 through 17, and he does not challenge Dr. Thomas’ qualifications to offer an

expert opinion, or the fit of his opinion.

         First, Dr. Kraynak contends that Dr. Thomas’ opinion is not based on reliable

facts because Dr. Thomas does not adequately explain the standards upon which he

relied in assessing Dr. Kraynak’s prescription behavior, meaning that “we do not

know whether Dr. Thomas’ technique is acceptable because he never indicates a

methodology or a comparison to Dr. Kraynak’s practices against any standard.”37

Moreover, Dr. Kraynak contends that Dr. Thomas reached his conclusions without

the benefit of any autopsies or toxicology reports and, thus, it is nearly impossible

to determine what substances caused Decedents’ deaths, rendering Dr. Thomas’

opinion speculative as to the cause of those deaths.38

         Second, Dr. Kraynak asserts that Dr. Thomas’ opinion is not the product of

reliable principles and methods because he reached his opinion without supporting

autopsies or toxicology reports to determine what drugs were in Decedents’ systems

and, therefore, cannot ascertain the but-for cause of their deaths.39 He also contends

that Dr. Thomas failed to account for whether Decedents had higher tolerances for

the prescription drugs.40




37
     Id. at 7; see id. at 6-7.
38
     Id. at 7-8.
39
     Id. at 8-9.
40
     Id. at 9.
                                             10
         Finally, Dr. Kraynak asserts that Dr. Thomas could not have reliably applied

methods and principles since there were no underlying autopsies or toxicology

reports to assist him, and he failed to account for alternative explanations for the

deaths, including whether Decedents had underlying medical conditions and whether

their drug addictions interfered with Dr. Kraynak’s ability to properly treat them.41

         In August 2020, this Court conducted a hearing on Dr. Kraynak’s motion and

received testimony from Dr. Thomas. In light of Dr. Thomas’ testimony at the

hearing and the evidence and exhibits proffered therein, Dr. Kraynak sought an

opportunity to hold the hearing open so that his expert could review that evidence

and then potentially reexamine Dr. Thomas; this Court granted Dr. Kraynak’s

request and held the matter open until October 16, 2020.42 No motions or documents

have since been filed, and the matter is now ripe for disposition. For the following

reasons, Dr. Kraynak’s motion will be denied.

II.      DISCUSSION

         Federal Rules of Evidence 702 and 703 govern the admissibility of expert

testimony and set forth certain criteria for admissibility. Expanding upon those

Rules, the United States Supreme Court set out the standard for admissibility of

expert testimony in Daubert v. Merrell Dow Pharm., Inc.43 The Court in Daubert

delegated to district courts a “gatekeeping responsibility” under Rule 702, which


41
      Id. at 10-11.
42
      Docs. 87, 88, 89.
43
      509 U.S. 579 (1993).
                                          11
requires that courts determine at the outset whether an expert witness may “testify

to (1) scientific knowledge that (2) will assist the trier of fact.”44 That gate-keeping

function demands an assessment of “whether the reasoning or methodology

underlying the testimony is scientifically valid” as well as “whether that reasoning

or methodology properly can be applied to the facts in issue.”45 A district court

“exercises more control over experts than over lay witnesses,” since “[e]xpert

evidence can be both powerful and quite misleading because of the difficulty in

evaluating it.”46

        Following Daubert, the United States Court of Appeals for the Third Circuit

cast expert admissibility determinations in light of three basic requirements:

(1) qualification; (2) reliability; and (3) fit.47 The qualification prong demands that

the proffered expert possess sufficient “specialized knowledge” to testify as an

expert.48 To satisfy the reliability prong, an expert’s opinion “must be based on the

‘methods and procedures of science’ rather than on ‘subjective belief or unsupported

speculation.’”49 The Third Circuit has set forth eight non-exclusive factors that “a

district court should take into account” when deciding the reliability of expert

testimony:



44
     Id. at 592.
45
     Id. at 592-93.
46
     Id. at 595 (internal quotation marks omitted).
47
     In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741-43 (3d Cir. 1994) (“Paoli II”).
48
     Id. at 741.
49
     Id. at 742 (quoting Daubert, 509 U.S. at 589).
                                                 12
        (1) whether a method consists of a testable hypothesis; (2) whether the
        method has been subject to peer review; (3) the known or potential rate
        of error; (4) the existence and maintenance of standards controlling the
        technique’s operation; (5) whether the method is generally accepted;
        (6) the relationship of the technique to methods which have been
        established to be reliable; (7) the qualifications of the expert witness
        testifying based on the methodology; and (8) the non-judicial uses to
        which the method has been put.50

With regard to the fit prong, the Third Circuit explained that admissibility “depends

. . . on the proffered connection between the scientific research or test result . . . and

[the] particular disputed factual issues.”51

        The burden of proof for admissibility of expert testimony falls upon the party

that seeks to introduce the evidence.52 However, as the Third Circuit has emphasized,

“[t]he test of admissibility is not whether a particular scientific opinion has the best

foundation or whether it is demonstrably correct. Rather, the test is whether the

particular opinion is based on valid reasoning and reliable methodology.”53

        This standard is not intended to be a high one, nor is it to be applied in
        a manner that requires the plaintiffs to prove their case twice—they do
        not have to demonstrate to the judge by a preponderance of the evidence
        that the assessments of their experts are correct, they only have to
        demonstrate by a preponderance of evidence that their opinions are
        reliable.54

District courts must always be cognizant of the fact that “[t]he analysis of the

conclusions themselves is for the trier of fact when the expert is subjected to cross-


50
     Id. at 742 n.8.
51
     Id. at 743 (internal quotation marks omitted).
52
     Oddi v. Ford Motor Co., 234 F.3d 136, 145 (3d Cir. 2000)
53
     Id. (internal quotation marks omitted).
54
     Id. (internal quotation marks omitted).
                                                 13
examination.”55

        Judged by those standards, the Court concludes that Dr. Thomas’ expert

opinion is reliable.56 First, although Dr. Kraynak asserts that Dr. Thomas’ opinion is

not reliable because he “never indicate[d] a methodology or a comparison to Dr.

Kraynak’s practices against any standard,”57 that assertion is not correct. Dr. Thomas

explained in some detail which standards he used in reaching his conclusions and

discussed the various model policies, guidelines, state statutes, data, and literature

upon which he relied to conclude that Dr. Kraynak’s prescription practices were

deficient.58

        Second, while Dr. Kraynak contends that Dr. Thomas’ methodology is

unknown,59 Dr. Thomas explained in detail his methodology at the Daubert hearing.

First, he reviewed the medical records to determine whether Dr. Kraynak prescribed

opioids for a legitimate medical purpose within the ordinary course of practice; the

addled, incomplete nature of the records, along with the circumstances surrounding

the prescriptions, was sufficient for Dr. Thomas to conclude that the prescriptions

were not made for a legitimate medical purpose within the ordinary course of

practice. Next, to determine the cause of Decedents’ deaths, Dr. Thomas examined



55
     Id. (internal quotation marks omitted).
56
     Because Dr. Kraynak does not challenge Dr. Thomas’ qualifications or the fit of his opinion,
     the Court will not address those prongs of the Daubert standard in this Memorandum.
57
     Doc. 58 at 7.
58
     See Doc. 60 at 3-4.
59
     Doc. 58 at 6-7.
                                                 14
police reports to understand the context of the deaths, along with toxicology and/or

autopsy reports and the nature and timing of the prescriptions issued to Decedents

by Dr. Kraynak. This information allowed Dr. Thomas to conduct a differential

diagnosis to determine the most likely causes of death for Decedents. A differential

diagnosis is a tool that has long been approved by the Third Circuit,60 and there is

no indication in the record—or any argument from Dr. Kraynak—that Dr. Thomas’

differential diagnosis was in any way deficient or flawed. To the contrary, in

conducting his differential diagnosis, Dr. Thomas reviewed Decedents’ medical

records, autopsy reports, and toxicology reports, “all [of which] provide significant

evidence of a reliable differential diagnosis.”61

        Third, while Dr. Kraynak contends that Dr. Thomas’ expert opinion is

unreliable because he reached his opinion without the benefit of any autopsies or

toxicology reports—meaning that Dr. Thomas could only speculate as to the but-for

causes of Decedents’ deaths62—the record undercuts this assertion. Autopsy or

coroner reports are available for R.C., A.K., and C.S.,63 and toxicology reports are

available for all Decedents.64 Thus, the absence of autopsy or toxicology reports

cannot undercut the reliability of Dr. Thomas’ expert opinion.




60
     See Paoli II, 35 F.3d at 758-59.
61
     Id. at 758.
62
     Doc. 58 at 7-11.
63
     Defendant’s Daubert Exhibits D104, D107, D110.
64
     Defendant’s Daubert Exhibits D105, D111; Government’s Daubert Exhibits G-1, G-2, G-3.
                                             15
         Finally, Dr. Kraynak contends that Dr. Thomas’ expert opinion is unreliable

because he failed to account for whether Decedents (1) may have had different

treatment considerations given that they were from “coal country,” (2) had higher

tolerances for the prescription drugs, (3) had underlying medical conditions, or (4)

had drug addictions that interfered with Dr. Kraynak’s ability to properly treat

them.65

         At the Daubert hearing Dr. Thomas made clear that he considered these

issues. With respect to the question of whether the fact that Dr. Kraynak’s patients

were from “coal country” impacted his opinion, Dr. Thomas testified that it did not,

since standards for issuing opioid prescriptions are national, not regional, and the

physiology of medication is the same for all individuals. Dr. Thomas further noted

that he had considered drug tolerances but, given how variable tolerance levels may

be, such considerations ordinarily cannot be used to determine an individual’s cause

of death. Similarly, any underlying drug addictions did not interfere with Dr.

Kraynak’s ability to treat the patients, since Dr. Kraynak did not adequately follow

through with processes and procedures designed to detect such addictions, such as

controlled substance agreements.

         With respect to Decedents’ potential underlying medical issues, Dr. Thomas

acknowledged that certain conditions increase the risk presented by opioids and are



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     Id. at 9-11.
                                          16
factors that should be considered in determining whether to issue an opioid

prescription. Nevertheless, regardless of whether Decedents had any such

underlying medical conditions, Dr. Thomas’ conclusion that prescription

medications were the but-for cause of their deaths would remain unchanged. This is

so because, as Dr. Thomas testified, when an underlying condition interacts with

opioids to cause an individual’s death, it remains true that the opioid—not the

underlying comorbidity—directly caused the individual’s death, since the

underlying condition would not alone have been lethal.

        Importantly, this Court is only permitted to make a “preliminary assessment”

of Dr. Thomas’ testimony and to determine whether such testimony is “helpful[] to

the trier of fact.”66 As the United States Court of Appeals for the Eighth Circuit has

explained:

        As a general rule, the factual basis of an expert opinion goes to the
        credibility of the testimony, not the admissibility, and it is up to the
        opposing party to examine the factual basis for the opinion in cross-
        examination. Only if the expert’s opinion is so fundamentally
        unsupported that it can offer no assistance to the jury must such
        testimony be excluded.67

        Information regarding the potential tolerance levels of the decedents or

underlying medical conditions does not render Dr. Thomas’ expert opinion “so

fundamentally unsupported that it can offer no assistance to the jury.”68 Rather, Dr.


66
     United States v. Velasquez, 64 F.3d 844, 849-50 (3d Cir. 1995) (internal quotation marks
     omitted).
67
     First Union Nat. Bank v. Benham, 423 F.3d 855, 862 (8th Cir. 2005).
68
     Id.
                                              17
Thomas accounted for those issues, and it is not within the province of the Court to

determine at this stage whether he properly accounted for them. There is a sufficient

basis supporting Dr. Thomas’ expert opinion such that it will be helpful to the jury,

and the Court therefore will leave any determination as to the relative strength of Dr.

Thomas’ opinion to the jury.


III.   CONCLUSION

       For the foregoing reasons, the Court concludes that Dr. Thomas’ expert

testimony is admissible. Accordingly, Dr. Kraynak’s motion to exclude will be

denied.

       An appropriate Order follows.


                                               BY THE COURT:


                                               s/ Matthew W. Brann
                                               Matthew W. Brann
                                               United States District Judge




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